            Case 2:19-cr-00107-KJM Document 127 Filed 08/08/19 Page 1 of 3
                                                                      PRO HAC VICE APPLICATION,
                                                                    ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                           TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                             PROPOSED ORDER



  UNITED STATES OF AMERICA
                        Plaintiff(s),
                                                    Case No. 19-CR-107-KJM
  v.

  RONALD YANDELL
                                   Defendant(s).


          I Nathan D. Chambers, attorney for Ronald Yandell, hereby petition for admission to

 practice Pro Hac Vice under the provision of Local Rule 180(b)(2). I understand and consent to

 ECF Registration and Electronic Service as detailed below. Pursuant to Court Order at Docket

 No. 118, the pro hac vice admission fee has been waived.


          In support of this petition, I state under penalty of perjury that:

          My business address is:

 Firm Name:               Nathan D. Chambers LLC

 Address:                 303 16th Street
                          Suite 200

 City:                    Denver

 State:                   Colorado          ZIP Code: 80111

 Voice Phone:             (303) 825-2222

 FAX Phone:               (303) 825-4010

 Internet E-mail:         nchambers@nathanchamberslaw.com

 Additional E-mail:       N/A

 I reside in City:        Greenwood Village               State: Colorado
           Case 2:19-cr-00107-KJM Document 127 Filed 08/08/19 Page 2 of 3
          I was admitted to practice in the Colorado Supreme Court on May 29, 1985

and the United States District Court for the District of Colorado on January 28, 1991. I am

presently in good standing and eligible to practice in said courts. Certificates of good standing

from the court in my state of primary practice and from the United States District Court for the

District of Colorado are attached to this application. I am not currently suspended or disbarred

in any other court.

          I have  / have not     X   concurrently or within the year preceding this application

made a pro hac vice application to this court. (If you have made a pro hac vice application to

this court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

________________N/A_________________________________________________________

          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:            Peter Kmeto

Firm Name:       Law Office of Peter Kmeto

Address:         1001 G Street
                 Suite 205

City:            Sacramento

State:           CA                     ZIP Code: 95814

Voice Phone: (916) 444-7420

FAX Phone:       (916) 914-2357

E-mail:         pkmeto@sbcglobal.net



Dated: August 7, 2019            Petitioner: /s/ Nathan Chambers
        Case 2:19-cr-00107-KJM Document 127 Filed 08/08/19 Page 3 of 3
                                   ORDER

       IT IS SO ORDERED.


Dated: August 8, 2020.
                                               UNITED STATES DISTRICT JUDGE
